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                              UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                       )
C.D., by and through her PARENTS AND                   )
NEXT FRIENDS, M.D. and P.D.,                            )
                                                        )      Civil Action No. 15-cv-136-FDS
                    Plaintiffs,                         )
v.                                                     )
                                                       )
NATICK PUBLIC SCHOOL DISTRICT                          )
and                                                    )
BUREAU OF SPECIAL EDUCATION APPEALS,                   )
                                                       )
                    Defendants.                        )
                                                       )

                                      NOTICE OF APPEAL

       Notice is hereby given that, through undersigned counsel, Plaintiffs, C.D., by and through

her Parents and Next Friends, M.D. and P.D., hereby appeal to the United States Court of Appeals

for the First Circuit from: (1) the Memorandum and Order entered in the above-named action on

July 21, 2017 (ECF No. 73); (2) the Memorandum and Order entered in the above-named action

on July 20, 2018 (ECF No. 98); and (3) the Judgment entered in the above-named action on July

20, 2018 in connection with the July 20, 2018 Order (ECF No. 100).

                                                Respectfully submitted,

                                                C.D., by and through her PARENTS AND
                                                NEXT FRIENDS, M.D. and P.D.

                                                By their attorney,

                                                /s/ Laurie R. Martucci
                                                Laurie R. Martucci, Esq.
                                                BBO #561946
                                                Martucci Law Associates
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Dated this 14th day of August, 2018              lrm@martucci-law-associates.com

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                             CERTIFICATE OF SERVICE

I, Laurie R. Martucci, hereby certify that the above document filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (“NEF”), and paper copies will be sent to those indicated as non-registered participants on
this date.


Dated this 14th day of August, 2018                     /s/ Laurie R. Martucci
                                                         Laurie R. Martucci
